EXHIBIT 1
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                           IN THE MATTER OF
 2
                         MOBILITY WORKX, LLC
 3
                                 vs.
 4
              CELLCO PARTNERSHIP D/B/A VERIZON WIRELESS
 5
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           1                      P R O C E E D I N G S

           2                    THE VIDEOGRAPHER:     We're now on the record.

           3   My name is Dan McDonald.       I am the videographer retained

           4   by Lexitas.   Today's date is September the 6th, 2019.         The

09:12AM    5   video time is 9:12 a.m.

           6                    This deposition is being held in Dallas,

           7   Texas, in the matter of Mobility Workx, LLC vs. Cellco

           8   Partnership d/b/a as Verizon Wireless.       The deponent is

           9   Dr. Sukumaran Nair.

09:12AM   10                    If counsel will introduce themselves and

          11   who they represent, then our court reporter, Kat Baker,

          12   will swear the witness in.

          13                    MR. BARTON:     This is Ross Barton from

          14   Alston & Bird on behalf of Verizon Wireless.

09:12AM   15                    MR. MACHAT:     This is Michael Machat on

          16   behalf of plaintiff, Mobility Workx.

          17

          18                           SUKUMARAN NAIR,

          19   having been first duly sworn, testified as follows:

09:12AM   20                             EXAMINATION

          21        Q.   (BY MR. BARTON)        Good morning, Dr. Nair.

          22        A.   Good morning.

          23        Q.   Have you ever had your deposition taken before?

          24        A.   Yes.

09:13AM   25        Q.   When was that?
                                                                               12


           1   witness report from the other side, Mr. Proctor, I

           2   believe.     Yes, I have seen those documents.

           3        Q.      Well, you actually -- you rendered your opinions

           4   on infringement before --

09:22AM    5        A.      Before, yeah.

           6        Q.      Okay.   Make sure you give me a chance to finish

           7   my question, okay?

           8        A.      Sure.

           9        Q.      I guess what I am trying to get at, Dr. Nair, is

09:23AM   10   that your report seems to rely exclusively, as far as I

          11   can tell, on publicly available documents; is that fair?

          12        A.      The initial report, yes, unless there are any --

          13   any references made to any other documents.      I cannot

          14   remember because it has been a long time now.      You know,

09:23AM   15   it started somewhere in spring, if I remember.

          16        Q.      Okay.   Were there any documents that you wanted

          17   in order to render your opinions that you did not have

          18   access to?

          19        A.      I think I got everything that I needed.

09:23AM   20   Whenever I needed some information, I asked Michael, and

          21   then whenever possible, he has offered those documents.

          22        Q.      Okay.   So just to be clear, in rendering your

          23   opinions in Exhibit 1 on infringement, there was nothing

          24   that you -- you asked for that you felt you needed that

09:24AM   25   you did not get; is that fair?
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           1        A.   I could -- I could render my opinion with the

           2   information I had at that time.     And then in -- in any

           3   decision-making, if you get more information, I can -- I

           4   can point to more evidences.     That is all.

09:24AM    5        Q.   Okay.   But -- but at no point did you say, you

           6   know, I can't take this position or I can't take that

           7   position because I don't have the information I need?

           8        A.   I don't remember having that -- that kind of a

           9   predicament.

09:24AM   10        Q.   Okay.   Now, turn to -- well, actually turn to

          11   page 4 of Exhibit 3.

          12        A.   Exhibit 3, page 4.     Yeah.

          13        Q.   And you see paragraph 16?        It's under the

          14   heading, Materials Considered?

09:24AM   15        A.   Yes.

          16        Q.   All right.   And then it says, My opinions are

          17   based on my experience in this field and are necessarily

          18   formed by my own experiences, materials I've read over the

          19   years and discussions I have had with my colleagues -- or

09:24AM   20   with colleagues during my career.        In addition, I have

          21   reviewed and considered the materials identified in

          22   Exhibit B in forming my opinions discussed herein.          And I

          23   have had discussions with Drs. Helal and Hernandez

          24   regarding the patents in suit, the genesis of the

09:25AM   25   inventions claimed therein, the asserted claims of the
                                                                              74


           1   understanding of this space will say, yeah, that means

           2   Verizon is allowing its customer, by way of using the

           3   network, infringing onto the claim.

           4           Q.   So your theory that the customers and end users

10:53AM    5   are infringing is based on their access to and use of the

           6   Verizon network?

           7           A.   No, I don't think I'm saying customers are

           8   infringing it.     Customers do not even know what goes on

           9   behind -- after the phone -- they don't even know what

10:53AM   10   happens in their phone.

          11           Q.   Let me read your words --

          12           A.   They are just using the services.

          13           Q.   Let me read your words to you again, okay?

          14                     It is my opinion that Verizon actively

10:53AM   15   induces its customers and end users who use the Verizon

          16   LTE network to infringe at least the asserted claims of

          17   the '417 Patent.

          18                     So is it your opinion that Verizon induces

          19   its customers to infringe; yes or no?

10:54AM   20           A.   This is, as I said in this report, that is my

          21   opinion I derived based upon my consult with Mr. Machat.

          22           Q.   Do you have any understanding as you sit here

          23   today, sir, as to what it means to induce infringement?

          24           A.   I would say, as I said, I will not opine on

10:54AM   25   that.
                                                                                 75


           1           Q.      So you don't know what that means?

           2           A.      I don't know what that means.

           3           Q.      Okay.     So why did you say it in your report?

           4           A.      Because when I said this is what I see, this is

10:54AM    5   my technical opinion, then he said what it means is this

           6   is the legal wording for that.           And then I trust my

           7   counsel, and then I put that, okay, if that is the legal

           8   understanding of it, I can put it there.           I believe in

           9   that.        But, you know, when you ask a question, I don't

10:55AM   10   want to legally be liable to make that opinion without,

          11   you know, having a legal background.           I want to stay in my

          12   lane.

          13           Q.      Okay.     Do you believe that Verizon directly

          14   infringes the claims of the '417 Patent?

10:55AM   15           A.      Again, as I said, when I say Verizon, Verizon

          16   gets services and it components from so many different

          17   vendors.        And as a whole system, the system infringes.

          18           Q.      Okay.

          19           A.      So as far as I can tell you, Verizon is the

10:55AM   20   front end of that network.           Verizon is the one who is

          21   providing this network services.           And then I am saying

          22   Verizon is infringing.           So whether it is direct, indirect,

          23   it is for you-all to decide, because I don't even know who

          24   are the vendors.

10:55AM   25                           And, for example, I don't know what kind of
                                                                             177


           1        A.    I -- even when I did not write I was telling

           2   those details to Michael and produced me the text,

           3   because, you know, the time constraints.

           4        Q.    Okay.     So I want you to explain to me what it

02:34PM    5   means to symbolize and interpret the true nature of drive

           6   testing.   What does -- what do -- how -- how does that

           7   photograph interpret the true nature of drive testing?

           8        A.    When somebody sees this photograph immediately

           9   they start remembering that ad that comes on the TV,

02:34PM   10   right.

          11        Q.    Did -- did the ad mention drive testing?

          12        A.    No.

          13        Q.    Do you know when the ad started?

          14        A.    I don't remember.

02:34PM   15        Q.    Do you know if the ads continued after Verizon

          16   used the --

          17        A.    I --

          18        Q.    -- the -- hold on.     Hold on.

          19                      Do you know if the ads continued after

02:34PM   20   Verizon began using the accused system simulator?

          21        A.    I don't know.

          22        Q.    Do you know if the ads began before Verizon

          23   started using the accused system simulator?

          24        A.    No idea.

02:35PM   25        Q.    Do you have any facts to tie that ad to
